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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 UNITED STATES OF AMERICA,
         Plaintiff,                                    MEMORANDUM DECISION AND
                                                       ORDER DENYING DEFENDANT
                                                       BOLICK’S MOTION TO DISMISS
                                                       AND DENYING AS MOOT
                                                       DEFENDANTS’ MOTIONS FOR
                                                       BILL OF PARTICULARS


                 vs.


 BRADLEY GRANT KITCHEN, et al.,                        Case No. 2:07-CR-895 TS
         Defendant.




       This matter came before the Court on July 8, 2008, for an evidentiary hearing and oral

argument on a number of pending motions. At the hearing, the Court denied Defendant Bolick’s

Motion to Dismiss and converted it into a Motion to Suppress. Additionally, based on the

evidence provided at the hearing, Defendants Hadlock, Cloward, Garrett, and Clarke withdrew

their Motions for a Bill of Particulars.

       It is therefore

       ORDERED that Defendant Bolick’s Motion to Dismiss (Docket No. 87) is DENIED.

Defendant’s Motion will be converted into a Motion to Suppress. It is further




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      ORDERED that Defendants’ Motions for a Bill of Particulars (Docket Nos. 32, 54, 78,

and 83) are DENIED AS MOOT based on counsel’s representations that those motions are

withdrawn.

      DATED July 9, 2008.

                                         BY THE COURT:


                                         _____________________________________
                                         TED STEWART
                                         United States District Judge




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